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Attomeys for Defendant Sears, Roebuck and Co.

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

RUTH BUCHANAN,
Plaintiff,
Case No.
vs.
SEARS, ROEBUCK AND CO.,
Defendant. NOTICE OF REMOVAL

 

 

 

 

 

TO: UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ALASKA

This notice of defendant Sears, Roebuck and Co. respectfully shows:

l. That on the 6th day of May, 2008, an action Was commenced against
defendant Sears, Roebuck and Co. in the Superior Court for the State of Alaska at
Anchorage, entitled Ruth Buchanan v. Sears, Roebuck and Co., Case No. 3AN-08-7223
Civil. Plaintiff is seeking damages in an amount greater than $lO0,000.

2. That this notice of removal is being filed pursuant to Title 28, United
States Code § l446(a) and (b) Within thirty (30) days after receipt by defendant Sears,

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Roebuck and Co. of the Summons and Complaint in the above-referenced action.
Service of the Summons Was accomplished on May l4, 2008. Copies of all papers found
by defendant Sears, Roebuck and Co. in the file of the Superior Court for the State of
Alaska, Third Judicial District, concerning this action are attached hereto in accordance

With Title 28, United States Code § l446(a):

Exhibit A Case Description - Superior Court, undated
Exhibit B Counsel of Record form, undated

Exhibit C Complaint dated May 5, 2008

Exhibit D Summons and Notice to Both Parties of Judicial

Assignment dated May 6, 2008
Exhibit E Affidavit of Civil Rule 4 Process dated April 8, 2008

Exhibit F Notice of Removal of Civil Action dated June 4, 2008
See Exhibits A-F, attached

3. This court has original jurisdiction of this action pursuant to Title 28,
U.S.C. Section l332(a), and this action may be removed to United States District Court
pursuant to Title 28, U.S.C. Section l44l, in that it is a civil action, the sum in
controversy exceeds 875,000, exclusive of interest and costs, and complete diversity
exists between the parties to this lawsuit.

On information and belief, at the time this action Was commenced, Plaintiff

Was a resident of Alaska as alleged in the Complaint.

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At the time this action Was commenced, defendant Sears, Roebuck and Co.
Was and is a corporation organized and incorporated under the laws of the State of
Delaware. lt has its principal place of business in Hoffman Estates, Illinois.

4. Defendant Sears, Roebuck and Co. Will pay all costs and
disbursements incurred by reason of removal proceedings hereby brought should it be
determined that this case is not removable or is improperly removed.

WHEREFORE defendant Sears, Roebuck and Co. gives notice that this
action formerly pending in the Superior Court for the State of Alaska, Third Judicial

District is hereby removed to this court.
DATED at Anchorage, Alaska, this 4th day of June, 2008.

HUGHES PFIFFNER GORSKI
SEEDORF & ODSEN, LLC,

Attorneys for Defendant Sears, Roebuck
and Co.

15…/; dba

David S. Carter

ABA No. 8411105

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VERIFICATION

STATE OF ALASKA )
) ss.
THIRD JUDICIAL DISTRICT )

David S. Carter, being first duly sworn, deposes and states that he is one of
the attorneys for Sears, Roebuck and Co., defendant above named; that he knows the
contents of this notice of removal and that the same are true and accurate to the best of
his knowledge and belief; and that he voluntarily executed the foregoing notice of

removal and was fully authorized to do so on behalf of Sears, Roebuck and Co..

Ml(jn&

David S. Carter

SUBSCRIBED AND SWQRN TO before me this 4th day of June 2008.

C--)%e¢%e€/Qet;zéa~)

Notary Public 1n and for Alaska
My commission expires: §"7'05;

I hereby certify that on the date below _
a true and correct copy of the foregoing
document was delivered via U S. Mail to:

David R. Wallace

Pentlarge Law Group

1400 W. Benson Blvd, Ste. 550
Anchorage, Alaska 99501

DATED this 4th day of June, 2008.

</WQM»ZW~

Michelle Tyms

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Ruth Buchanan v. Sears, Roebuck and Co.

Exhibit A
Exhibit B
Exhibit C
Exhibit D

Exhibit E

Exhibit F

Notice of Removal
Index of Exhibits

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